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                                                                        WWW.MAGSTONELAW.COM


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   SUITE 160                          SUITE 390                      SUITE 1105
   SANTA CLARA, CA 95054              BURLINGGAME, CA 94010          NEW YORK, NY 10018


                     CONFIDENTIAL SETTLEMENT COMMUNICATION
                      SUBJECT TO FEDERAL RULE OF EVIDENCE 408
                        AND CALIFORNIA EVIDENCE CODE § 1152

  October 5, 2020


  Via Email

  Mr. Chan Yong Jeong, Esq.
  Jeong & Likens, L.C.
  222 South Oxford Avenue
  Los Angeles, CA 90004
  info@jeonglikens.com

  Re:    Allegations by Neman Brothers & Assoc., Inc.

  Dear Mr. Jeong:

  We write on behalf of InterFocus, Inc. in response to your letter dated September 15, 2020.

  We appreciate that you have brought your client’s concerns to our attention. InterFocus respects
  the intellectual property rights of others and takes very seriously its responsibilities as the owner
  of the PatPat platform. Accordingly, InterFocus promptly removed the product listings at issue
  after receiving your letter.

  We must make clear, however, that InterFocus did not produce, manufacture, distribute, offer for
  sale, or sell the allegedly infringing garments identified in your letter. Rather, InterFocus
  operates PatPat as a platform on which manufacturers and other vendors may list and sell
  products directly to consumers. Product listings on PatPat are created and managed by these
  third-party vendors, not by InterFocus. Thus, InterFocus plays a similar role to Amazon or eBay
  in facilitating third-party sales, and is not liable for the copyright infringement of its platform
  users. See Milo & Gabby LLC v. Amazon.com, Inc., 693 F. App’x 879, 885 (Fed. Cir. 2017)
  (affirming summary judgment that Amazon is not a “seller” or “distributor” of infringing
  products even though orders were fulfilled by Amazon for a third-party seller).




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  As a platform operator, InterFocus undertakes substantial measures to protect the intellectual
  property rights of third parties. Manufacturers who wish to list their products on PatPat must
  agree to InterFocus’s terms of service, including a commitment that the products do not infringe
  anyone’s intellectual property rights.1 The PatPat accounts of manufacturers who violate these
  terms are subject to termination by InterFocus. Additionally, InterFocus provides contact
  information and an online form to make it easy for copyright owners to submit copyright claims
  without having to incur the cost of retaining counsel to do it for them.2 InterFocus promptly
  investigates and takes appropriate action on every copyright notice that it receives.

  As a gesture of good faith and in accordance with Section 6 of the parties’ Settlement Agreement
  and Mutual Release dated March 23, 2020, InterFocus provides the following summary
  information regarding sales of the articles at issue that were made on the PatPat platform.

      ID       Picture        Units Sold   Revenues   Profit    Created on PatPat    Removed from PatPat
      457696                  28            $358.72   $193.18   June 19, 2020        September 16, 2020




      458707                  35            $489.65   $264.90   July 1, 2020         September 17, 2020




      385561                  13            $238.87   $127.26   January 31, 2019     September 16, 2020




      458707                  27            $377.73   $203.34   July 1, 2020         September 17, 2020




  1
      See https://us.patpat.com/terms.
  2
      Id.; see also https://us.patpat.com/dmca_notice; https://us.patpat.com/dmca_form.


                                                      2
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   ID       Picture           Units Sold   Revenues    Profit       Created on PatPat   Removed from PatPat
   399267                     3              $41.17        $19.11   April 4, 2019       September 16, 2020




   414159                     17            $319.11    $170.66      May 23, 2019        August 28, 2019




            Total             123          $1,825.25   $978.45



  As shown in the above table, the articles at issue were available on PatPat for only a brief time
  and generated modest sales.

  To resolve your client’s concerns, InterFocus has removed the product listings identified in your
  letter and is further prepared to pay to your client its entire profit ($978.45) from sales of the
  articles at issue. Please let us know if you agree.



  Sincerely,




  Linna Chen, Partner
  MagStone Law，LLP
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